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EXHIBIT I

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- DEY LABORATORIES, INC.

MEMORANDUM

TO? Pam Marrs
Gharles Rice
Jean-Pierre Termisr

PROM: Robert FP. Mozak
DATEr Fepruary 24, 1992
REr ALBUTEROL PRICING STRATEGIES

Although the pricing strategy will be reviewed at the
March 6 meeting, I thought you would be interested in reviewing
it sooner in light of the earlier approval of Albuterol.

Essentially thie pricing strategy will he followed by Dey

sales people through the initial introduction and until
competition emerges. If there are any questions, let me know.

RFM: ms

CONFIDENTIAL
DEPOSITION DL-Tx-0090851

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PRICING

OBJECTIVES:

TO SEEK THE HIGHEST PRICES POSSIBLE IN

RETAIL, HOMECARE AND HOSPITAL SEGMENTS.
TO MAXIMIZE DEY PROFITABILITY.

TO SEEK LONG - TERM (3 YEARS)

AGREEMENTS WITH MAJOR PURCHASING
GROUPS FOR ALL DEY PRODUCTS

THROUGH LEVERAGING OF ALBUTEROL UD.

TO PROVIDE INCENTIVE TO RETAIL / CHAIN

PROVIDERS TO USE DEY’S ALBUTEROL UD
BY INCREASING THE SPREAD ON

MEDICARE / MEDICAID REIMBURSEMENTS.

CONFIDENTIAL
DL-TX-0090852
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SOMPETITIVE PRICES:
. DIRECT
AWP WHOLESALE PHCY.
NEW
SCHERING: | 35.50" 29,50* 31.86 2/1/92
“ey: 32.30 24.95 26.50
DIFF: ~ 8.0% ~ 15% 17%

“ SOURCES: REDBOOK, BLUEBOOK, (2/92)
FIRST DATA BANK, MEDISPAN

D CONFIDENTIAL
DL-TX-0090853

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9)

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PRICING STRATEGIES

INCREASE THE SPREAD TO
RETAIL / HOMECARE ACCOUNTS
BY LOWERING ACQUISITION
COST MORE THAN AWP.

PHARMACY / CHAIN BID RANGE:

$23.95 — $26.50 (AVG. $25.95)

WILL INCREASE SPREAD FOR RETAIL

AND PROVIDE DEY WITH HIGHEST PROFIT.

INDIVIDUAL DIRECT HOSPITAL BID RANGE:
$19.00 — $24.95 (AVG. $22.50)
WILL PROVIDE INDIVIDUAL HOSPITALS

INCENTIVE TO USE DEY WHILE MAXIMIZING
DEY PROFIT.

LARGE GROUPS PRICES:
$11.00 - $18.00 RANGE (AVG. $12. 50).
DEY TO BID IN THIS RANGE FOR LONGER

TERM CONTRACTS (3 YEARS) FOR FULL
AWARDS.

COMPOUNDERS:

MAKING OWN PRODUCT FOR .25 - .30 PER DOSE
DEY TO SELL FOR .45 - .60 PER DOSE
($11.25 - $15.00 PER CARTON)

DEPENDING ON CONTRACT LENGTH AND connbenTiat
VOLUMES. DL_TX-0090854

NOTE: PRICING ASSUMES NO INITIAL GENERIC COMPETITION. |

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wK1
WK2
WKS
wK4
WKS
WK6-
WK7

WK8

EI£LO SALES

Drug Wholesalers (1)
Compounders (2)

Chain Drug Hat. (3)
A-Accounts (4)
(Hospitals)

y

ALBUTEROL

SALES COVERAGE

TELE-SALES

- p-Accounta (1)

(Hospitals)

Retali Accts (2)
Homecare (3)

REPRESENT PRIORITIES

NATIONAL ACCTS.
POPE WILSON

Wholesalars (1)

Purchasing Groups (2) VA Hospitals (2)

Mall Order (3) ccs (3)
Masa Merch (4) Mass Merch (4)
Food Ax (6) Milltary (8)

Purchasing Groups (1) Compoundera (1)

uae |

Maes March {2)
Food Rx (3)

CONFIDENTIAL
DL-TX-009085:

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EXHIBIT | IDENTIFICATION

Exh JJ HHD013-1239 Roxane Exhibit 13

Exh KK VAC MDL 43715-43720

Exh LL Excerpts of Deposition of John M. Lockwood, M.D., July 23, 2008

Exh April 10, 2000 Complaint

Exh NN Excerpts of Deposition of Luis Cobo, March 4, 2008

Exh OO DL-TX-0122497

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EXHIBIT A

EXHIBIT | IDENTIFICATION

Exh B Chart of Public Disclosures

Exh C November 2, 2009 Declaration of T. Mark Jones with exhibits 1-7
Exh D Excerpts of Deposition of T. Mark Jones May 9, 2007

Exh E Excerpts of Deposition of T. Mark Jones, December 8, 2008

Exh F Excerpts of Deposition of John M. Lockwood, M.D July 27, 2009
Exh G Excerpts of Deposition of T. Mark Jones, December 9, 2008

Exh H Excerpts of Deposition of T. Mark Jones March 18, 2008

Exh I DL-TX-0090851-DLTX0090855 Dey Exh 259

Exh J ROX-04606-ROX 04624 Tupa Exh 648

Exh K ROX-TX-16255-16256 Exh. 132 to Fauci Decl docket # 313-49
Exh L Excerpts of Deposition of Luis Cobo March 3, 2003

Exh M Excerpts of Deposition of Luis Cobo, July 31, 2008

Exh N Excerpts of Deposition of T. Mark Jones May 9, 2007

Exh O Excerpts of Deposition of Zachary Bentley, March 6, 2008

Exh P VAC MDL 73407

Exh Q Excerpts of Deposition of T. Mark Jones, October 8, 2002

ExhR Excerpts of Deposition of John M. Lockwood, M.D., 30(b)(6) April 23,
2009

Exh S Excerpts of Deposition of John M. Lockwood, M.D. March 17, 2008
Exh T Excerpts of Deposition of David Tawes, Vol II April 25, 2007

Exh U Excerpts of Deposition of David Tawes Vol IIT December 13, 2007

Exh V Excerpts of Deposition of Robert Vito February 6, 2008

Exh W Excerpts of Deposition of Robert Vito. June 20, 2007

Exh X Excerpts of Deposition of Nancy Molyneaux, January 11, 2007

Exh Y Excerpts of Deposition of Linda Ragone, Vol I April 17, 2007

Exh Z Excerpts of Deposition of John M. Lockwood, M.D -30(b)(6) April 24,
2009

Exh AA VAC MDL 90973-90975

Exh BB VAC MDL 53655 Document marked “Attorney’s Eyes Only” and Bates
numbered R1-022880, marked as Exhibit 525 at 3/3/03 deposition of Luis
Cobo in Texas v. Dey case.

Exh CC VAC MDL 53658 Document marked “Attorney’s Eyes Only” and Bates
numbered R1-022883, marked as Exhibit 530 at 3/3/03 deposition of Luis
Cobo in Texas v. Dey case

Exh DD Document marked “‘Attorney’s Eyes Only” and Bates numbered R1-
030364-30365, marked as Exhibit 515 at 3/3/03 deposition of Luis Cobo in
Texas v. Dey case

Exh EE VAC MDL 49845-49848;

Exh FF VAC MDL 73915

Exh GG || VAC MDL 71681

Exh HH =| MPL 507

Exh II VAC MDL 91359-91361

